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   7
       Attorneys for Plaintiffs,
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   9                          UNITED STATES DISTRICT COURT
  10                         CENTRAL DISTRICT OF CALIFORNIA
  11
  12 ALFRED ZAKLIT AND JESSY                  Case No. 5:15-CV-02190-CAS-KK
     ZAKLIT, individually and on behalf of
  13 all others similarly situated,           PLAINTIFF’S    NOTICE    OF
  14                Plaintiffs,               LODGING     OF   [PROPOSED]
                                              ORDER GRANTING MOTION
  15         vs.                              FOR CLASS CERTIFICATION
  16 NATIONSTAR MORTGAGE LLC and
     DOES 1 through 10, inclusive, and each       Judge: Hon. Christina A. Snyder
  17 of them,
  18                Defendants.
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                       NOTICE OF LODGING OF [PROPOSED] ORDER
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   1
             Pursuant to the Honorable Court’s request during oral argument on February
   2
       25, 2019, Plaintiffs hereby lodge a revised Proposed Order granting Plaintiffs’ Motion
   3
       for Preliminary Approval of Class Action Settlement.
   4
   5                                          Respectfully submitted,
   6
   7                               THE LAW OFFICES OF TODD FRIEDMAN P.C.

   8
   9 Date: March 1, 2019                      By:/s/ Adrian R. Bacon
                                                 Adrian R. Bacon
  10                                             Attorney for Plaintiff
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                       NOTICE OF LODGING OF [PROPOSED] ORDER
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   1
                                 CERTIFICATE OF SERVICE
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   3
       Filed electronically on this 1st day of March, 2019, with:
   4
   5 United States District Court CM/ECF system
   6 Notification sent electronically on this 1st day of March, 2019, to:
   7
     Honorable Judge Christina A. Snyder
   8 United States District Court
   9 Central District of California
  10 Erik Kemp
  11 Severson & Werson
  12 /s/ Adrian R. Bacon
  13 Adrian R. Bacon
     Law Offices of Todd M. Friedman
  14 Attorney for Plaintiff
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                       NOTICE OF LODGING OF [PROPOSED] ORDER
